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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


WSOU INVESTMENTS LLC,                          §
           Plaintiff                           §
                                               §       W-20-CV-00533
-v-                                            §       W-20-CV-00534
                                               §       W-20-CV-00535
HUAWEI TECHNOLOGIES CO.,                       §       W-20-CV-00536
LTD., HUAWEI TECHNOLOGIES                      §       W-20-CV-00537
USA INC.                                       §       W-20-CV-00538
             Defendants                        §       W-20-CV-00539
                                               §       W-20-CV-00540
                                               §       W-20-CV-00541
                                               §       W-20-CV-00542
                                               §       W-20-CV-00543
                                               §       W-20-CV-00544
1                                              §


                           CLAIM CONSTRUCTION ORDER

       The Court held Markman hearings on April 22, 2021, April 26, 2021, and June 1, 2021.

During those hearings, the Court provided its final constructions. The Court now enters those

claim constructions.



SIGNED this 1st day of June, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
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                                                -533, -535, -540, and -543 Cases

Term                              Plaintiff’s Proposed           Defendant’s Proposed              Court’s Final Construction
                                  Construction                   Construction
“performing a SRG (shared         Plain and ordinary meaning     “performing a transformation      Plain-and-ordinary meaning.
risk group) topology                                             of links and/or nodes of a SRG
transformation of the network                                    (shared risk group) of the
topology into a virtual                                          network into a virtual topology
topology that discourages the                                    that discourages the use of
use of network resources”                                        network resources”

(’627 Patent, Claims 1, 29, 30)

[Proposed by Defendant]
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Term                               Plaintiff’s Proposed              Defendant’s Proposed              Court’s Final Construction
                                   Construction                      Construction
“second code means adapted         Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶
to, for at least one shared risk                                                                       6.
group, determine if any of the     Function: determine if any of     Function: determine if any of
at least one shared risk group     the at least one shared risk      the at least one shared risk      Function: determine if any of
includes any of the first          group includes any of the first   group includes any of the first   the at least one shared risk
sequence of network                sequence of network resources     sequence of network resources     group includes any of the first
resources” / “means adapted                                                                            sequence of network resources.
to, for at least one shared risk   Structure: processing             Structure: Indefinite for
group, determine if any of the     platform-readable medium,         failure to disclose sufficient    Structure:
at least one shared risk group     and equivalents thereof (claim    corresponding structure            Claim 29: “processing
includes any of the first          29) / a network management                                            platform, and equivalents
sequence of network                platform, and equivalents                                             thereof”
resources”                         thereof (claim 30)                                                   Claim 30: “network
                                                                                                         management platform, and
(’627 Patent, Claims 1, 29, 30)    Algorithm (if required): see                                          equivalents thereof”
                                   e.g., 2:13-54, 3:54-4:15,
[Proposed by Both]                 4:455:33, 6:23-37, 6:52-7:52,
                                   9:18-23, 12:46-50 Figs. 3A,                                         Algorithm:
                                   3B, 6B, and equivalents                                              Claim 29: 3:54-4:15, Fig. 1
                                   thereof                                                              Claim 30: 3:54-4:15, Fig. 1
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Term                              Plaintiff’s Proposed              Defendant’s Proposed              Court’s Final Construction
                                  Construction                      Construction
“third code means for             Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶
performing a SRG (shared risk                                                                         6.
group) topology                   Function: performing a SRG        Function: performing a SRG
transformation of the network     (shared risk group) topology      (shared risk group) topology      Function: “performing a SRG
topology into a virtual           transformation of the network     transformation of the network     (shared risk group) topology
topology which discourages        topology into a virtual           topology into a virtual           transformation of the network
the use of network resources” /   topology which discourages        topology which discourages        topology into a virtual
“means for performing a SRG       the use of network resources      the use of network resources      topology which discourages
(shared risk group) topology                                                                          the use of network resources”
transformation of the network     Structure: processing             Structure: A network
topology into a virtual           platform-readable medium,         management platform               Structure:
topology which discourages        and equivalents thereof (claim    comprising algorithms for link     Claim 29: “processing
the use of network resources”     29) / a network management        and node transformations such       platform, and equivalent, and
                                  platform, and equivalents         as those described in Figures       equivalents thereof”
(’627 Patent, Claims 29, 30)      thereof (claim 30)                3C, 3D, 4A, and 4B, and the        Claim 30: “network
                                                                    corresponding embodiments           management platform, and
[Proposed by both]                Algorithm (if required): see      disclosed in 6:49-7:52, and         equivalents thereof”
                                  e.g., 2:31-3:18, 6:49-7:52,       equivalents thereof.
                                  7:63-8:28, 8:30-9:35, Figs. 2,
                                  3A-3D, 4A, 4B, 5A, 5B, 6A-                                          Algorithm:
                                  6E, and equivalents thereof                                          Claim 29: 2:31-3:18, 6:49-
                                                                                                        7:52, 7:63-8:28, 8:30-9:35,
                                                                                                        Figs. 2 (2-4 only), 3A-3D,
                                                                                                        4A, 4B, 5A, 5B, 6A-6E
                                                                                                       Claim 30: 2:31-3:18, 6:49-
                                                                                                        7:52, 7:63-8:28, 8:30-9:35,
                                                                                                        Figs. 2 (2-4 only), 3A-3D,
                                                                                                        4A, 4B, 5A, 5B, 6A-6E
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Term                             Plaintiff’s Proposed         Defendant’s Proposed             Court’s Final Construction
                                 Construction                 Construction
“switch over message”            Plain and ordinary meaning   “a message which instructs a     Plain-and-ordinary meaning.
                                                              device to perform a switch
(’755 Patent, Claims 1, 5, 8,                                 over to the alternate path and
10, 13, 16, 18, 20, 23, 25)                                   which is not a message that
                                                              indicates a fault has occurred
[Proposed by Defendant]                                       in the network

“originating network device”     Plain and ordinary meaning   “a network device of a primary   Plain-and-ordinary meaning.
                                                              LSP which is not a source
(’755 Patent, Claims 1, 3, 20)                                network device of the same
                                                              primary LSP”
[Proposed by Defendant]
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“means for re-routing traffic     Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6
traveling along the bi-
directional LSP in the            Function: re-routing traffic       Function: re-routing traffic      Function:
backwards direction to the        traveling along the                traveling along the                Claim 8: re-routing traffic
alternate path in the             bidirectional LSP in the           bidirectional LSP in the            traveling along the
backwards direction based on      backwards direction to the         backwards direction to the          bidirectional LSP in the
the switch over message”          alternate path in the backwards    alternate path in the backwards     backwards direction to the
                                  direction based on the switch      direction based on the switch       alternate path in the
(’755 Patent, Claim 8)            over message                       over message                        backwards direction based on
                                                                                                         the switch over message
“means for re-routing traffic     (’755 Patent, Claim 8)             (’755 Patent, Claim 8)             Claim 23: re-routing traffic
traveling along a bidirectional                                                                          traveling along a bi-
LSP in a backwards direction      Function: re-routing traffic       Function: re-routing traffic        directional LSP in a
to an alternate path in the       traveling along a bi-directional   traveling along a bidirectional     backwards direction to an
backwards direction based on      LSP in a backwards direction       LSP in a backwards direction        alternate path in the
the switch over message”          to an alternate path in the        to an alternate path in the         backwards direction based on
                                  backwards direction based on       backwards direction based on        the switch over message
(’755 Patent, Claim 23)           the switch over message            the switch over message            Claim 25: re-routing traffic
                                                                                                         traveling along the bi-
“means for rerouting traffic      (’755 Patent, Claim 23)            (’755 Patent, Claim 23)             directional LSP in a
traveling along the bi-                                                                                  backwards direction to the
directional LSP in a              Function: re-routing traffic       Function: re-routing traffic        same alternate path in the
backwards direction to the        traveling along the bi-            traveling along the                 backwards direction based on
same alternate path in the        directional LSP in a backwards     bidirectional LSP in a              the switch over message
backwards direction based on      direction to the same alternate    backwards direction to the
the switch over message”          path in the backwards direction    same alternate path in the
                                  based on the switch over           backwards direction based on      Structure: merging network
(’755 Patent, Claim 25)           message                            the switch over message           device, and equivalents thereof

[Proposed by Both]                (’755 Patent, Claim 25)            (’755 Patent, Claim 25)           Algorithm: 2:19-26, 2:52-55,
                                                                                                       3:21-25, Figs. 1, 2, 3
                                  Structure: merging network
                                  device, and equivalents thereof
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Term        Plaintiff’s Proposed              Defendant’s Proposed             Court’s Final Construction
            Construction                      Construction
                                              Structure: Indefinite for
            Algorithm (if required): see      failure to disclose sufficient
            e.g., 2:7-32, 2:43-60, 3:13-36,   corresponding structure.
            Figs. 1, 2, 3
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“means for transmitting a         Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6
switch over message along
the alternate path in the         Function: transmitting a          Function: transmitting a         Function:
forward direction to a            switch over message along the     switch over message along the     Claim 20: transmitting a
merging network device            alternate path in the forward     alternate path in the forward      switch over message along
responsive for re- routing        direction to a merging network    direction to a merging network     the alternate path in the
traffic traveling along the bi-   device responsive for re-         device responsible for re-         forward direction to a
directional LSP in a              routing traffic traveling along   routing traffic traveling along    merging network device
backward direction to the         the bidirectional LSP in a        the bidirectional LSP in a         responsive for re-routing
alternate path in the             backward direction to the         backward direction to the          traffic traveling along the
backward direction”               alternate path in the backward    alternate path in the backward     bidirectional LSP in a
                                  direction                         direction                          backward direction to the
(’755 Patent, Claim 20)                                                                                alternate path in the
                                 (’755 Patent, Claim 20)           (’755 Patent, Claim 20)             backward direction
“means for transmitting a                                                                             Claim 25: transmitting a
switch over message, along the Function: transmitting a            Function: transmitting a            switch over message, along
alternate path in the forward    switch over message, along the switch over message, along the         the alternate path in the
direction, for rerouting traffic alternate path in the forward     alternate path in the forward       forward direction, for re-
traveling along the bi-          direction, for re-routing traffic direction, for re-routing traffic   routing traffic traveling along
directional LSP in a backward traveling along the bi-              traveling along the bi-             the bi-directional LSP in a
direction”                       directional LSP in a backward directional LSP in a backwards          backward direction”
                                 direction”                        direction
(’755 Patent, Claim 25)
                                 (’755 Patent, Claim 25)           (’755 Patent, Claim 25)           Structure: originating network
[Proposed by Both]                                                                                   device, and equivalents thereof
                                 Structure: originating network Structure: Indefinite for
                                 device, and equivalents thereof failure to disclose sufficient      Algorithm: 2:16-32, 2:49-59,
                                                                   corresponding structure.          3:9-28, Figs. 1, 2, 3
                                 Algorithm (if required): see
                                 e.g., 1:51-56, 2:7-32, 2:43-60,
                                 3:9-36, Figs. 1, 2, 3
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Term                              Plaintiff’s Proposed               Defendant’s Proposed               Court’s Final Construction
                                  Construction                       Construction
“means for re-routing traffic     Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
traveling along a bidirectional
LSP in a forward direction to    Function: re-routing traffic        Function: re-routing traffic       Function: re-routing traffic
an alternate path in the forward traveling along a bidirectional     traveling along a bidirectional    traveling along a bidirectional
direction”                       LSP in a forward direction to       LSP in a forward direction to      LSP in a forward direction to
                                 an alternate path in the forward    an alternate path                  an alternate path in the forward
(’755 Patent, claims 20, 25)     direction                           in the forward direction           direction

[Proposed by Both]                Structure: originating             Structure: Indefinite for          Structure: originating network
                                  network device, and                failure to disclose sufficient     device, and equivalents thereof
                                  equivalents thereof                corresponding structure.
                                                                                                        Algorithm: 2:7-32, 3:9-36,
                                  Algorithm (if required): see                                          Figs. 1, 3
                                  e.g., 1:51-56, 2:7-32, 2:43-60,
                                  Figs. 1, 2, 3

“means for means for [sic]        Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
receiving traffic traveling
along a bi-directional LSP in a   Function: receiving traffic        Function: re-routing traffic       Function: receiving traffic
forward direction to an           traveling along a bidirectional    traveling along a bidirectional    traveling along a bidirectional
alternate path in the forward     LSP in a forward direction to      LSP in a forward direction to      LSP in a forward direction to
direction”                        an alternate path in the forward   an alternate path in the forward   an alternate path in the forward
                                  direction                          direction                          direction
(’755 Patent, Claims 23)
                                  Structure: merging network         Structure: Indefinite for          Structure: merging network
[Proposed by Both]                device, and equivalents thereof    failure to disclose sufficient     device, and equivalents thereof
                                                                     corresponding structure.
                                  Algorithm (if required): see                                          Algorithm: 2:21-32, 2:55-60,
                                  e.g., 2:7-32, 2:43-60, 3:13-36,                                       Figs. 1, 2
                                  Figs. 1, 2, 3
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Term                               Plaintiff’s Proposed         Defendant’s Proposed           Court’s Final Construction
                                   Construction                 Construction
“determining whether said          Plain and ordinary meaning   “determining whether said      Plain and ordinary meaning
collected BER values worsen                                     collected BER values worsen
over time”                                                      over time by comparing one or
                                                                more of said recent ones of
(’112 Patent, Claims 1, 11)                                     said collected BER values with
                                                                said other collected BER
[Proposed by Defendant]                                         values”

“a number of corrected errors      Plain and ordinary meaning   “the number of background         Plain-and-ordinary meaning.
(BCE) in a non-SCS base                                         corrected errors that have been
reference time period”                                          corrected within a base
                                                                reference time period which is
(’727 Patent, Claims 1, 4, 5, 6,                                different than the base
7)                                                              reference time period used to
                                                                detect uncorrected blocks”
[Proposed by Defendant]
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Term                               Plaintiff’s Proposed               Defendant’s Proposed               Court’s Final Construction
                                   Construction                       Construction
“means for implementing a          Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
Performance Monitoring
function based on data             Function: implementing a           Function: implementing a           Function: implementing a
retrieved through a Forward        Performance Monitoring             Performance Monitoring             Performance Monitoring
Error Correction function”         function based on data             function based on data             function based on data
                                   retrieved through a Forward        retrieved through a Forward        retrieved through a Forward
(’727 Patent, Claims 4, 5)         Error Correction function          Error Correction function          Error Correction function

[Proposed by Both]                 Structure: telecommunication       Structure: Algorithm               Structure:
                                   network management system,         disclosed in Figure 1, and         “telecommunication network
                                   and equivalents thereof            equivalents thereof                management system, and
                                                                                                         equivalents thereof”
                                   Algorithm (if required): see
                                   e.g., 1:63-2:21, 2:36-4:54, Fig.                                      Algorithm: 1:63-2:9, 2:36-
                                   1, and equivalents thereof                                            4:54, and Fig. 1

“means for classifying said        Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
blocks as either corrected or
uncorrected through the            Function: classifying said         Function: classifying said         Function: classifying said
Forward Error Correction           blocks either as corrected or      blocks either as corrected or      blocks either as corrected or
Function”                          uncorrected through the            uncorrected through the            uncorrected through the
                                   Forward Error Correction           Forward Error Correction           Forward Error Correction
(’727 Patent, Claims 4, 5)         function                           function                           function

[Proposed by Both]                 Structure: network node            Structure: Indefinite for          Structure: network node
                                   performing Forward Error           failure to disclosure sufficient   performing Forward Error
                                   Correction function, and           corresponding structure            Correction function, and
                                   equivalents thereof                                                   equivalents thereof
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Term                             Plaintiff’s Proposed               Defendant’s Proposed              Court’s Final Construction
                                 Construction                       Construction
“means for calculating the       Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6
Performance Monitoring
function by implementing a       Function: calculating the          Function: calculating the         Function: calculating the
correlation of the information   Performance Monitoring             Performance Monitoring            Performance Monitoring
regarding said corrected and     function by implementing a         Function by implementing a        function by implementing a
uncorrected blocks”              correlation of the information     correlation of the information    correlation of the information
                                 regarding said corrected and       regarding said corrected and      regarding said corrected and
(’727 Patent, Claims 4, 5)       uncorrected blocks                 uncorrected blocks.               uncorrected blocks

[Proposed by Both]               Structure: telecommunication       Structure: Algorithmic            Structure: telecommunication
                                 network management system,         structure:                        network management system,
                                 and equivalents thereof                                              and equivalents thereof
                                                                    And equivalents thereof.
                                 Algorithm (if required): see                                         Algorithm: 3:15-56
                                 e.g., 1:63-2:21, 2:36-4:54, Fig.
                                 1, and equivalents thereof
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Term                            Plaintiff’s Proposed         Defendant’s Proposed               Court’s Final Construction
                                Construction                 Construction
“implementing a Performance     Plain and ordinary meaning   Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
Monitoring function based on
data retrieved through a                                     Function: implementing a           Function: implementing a
Forward Error Correction                                     Performance Monitoring             Performance Monitoring
function”                                                    function based on data             function based on data
                                                             retrieved through a Forward        retrieved through a Forward
(’727 Patent, Claims 6, 7)                                   Error Correction function          Error Correction function

[Proposed by Defendant]                                      Structure: Algorithm               Structure: “telecommunication
                                                             disclosed in Figure 1, and         network management system,
                                                             equivalents thereof.               and equivalents thereof”

                                                                                                Algorithm: 1:63-2:9, 2:36-
                                                                                                4:54, Fig. 1

“classifying said blocks as     Plain and ordinary meaning   Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
corrected or uncorrected
through the Forward Error                                    Function: classifying said         Function: classifying said
Correction function”                                         blocks as corrected or             blocks either as corrected or
                                                             uncorrected through the            uncorrected through the
(’727 Patent, Claims 6, 7)                                   Forward Error Correction           Forward Error Correction
                                                             function                           function
[Proposed by Defendant]
                                                             Structure: Indefinite for          Structure: network node
                                                             failure to disclosure sufficient   performing Forward Error
                                                             corresponding structure            Correction function, and
                                                                                                equivalents thereof
                          Case 6:20-cv-00541-ADA Document 67 Filed 06/01/21 Page 14 of 24




                                               -534, -536, -538 and -542 Cases

            Term                     Plaintiff’s Proposed           Defendant’s Proposed         Court’s Final Construction
                                        Construction                    Construction
“a message to the upstream      Plain and ordinary meaning     “a message instructing the       Plain and ordinary meaning
device to reduce a rate at                                     upstream device to reduce a
which packets are sent to the                                  rate at which packets are sent
queuing device to prevent the                                  to the queuing device to
queue from filling”                                            prevent the queue from filing”


(’973 Patent, Claims 1, 9)


[Proposed by Defendant]

“the message”                   Plain and ordinary meaning     Indefinite                       Indefinite.


(’973 Patent, Claims 1, 9)


[Proposed by Defendant]
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             Term                       Plaintiff’s Proposed         Defendant’s Proposed             Court’s Final Construction
                                            Construction                   Construction
“a module for sending the          Plain and ordinary meaning     Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
message from the e stream          except that the phrase “e
device to an upstream network      stream” should be “upstream”   Function: sending the              Function: sending the
device to thereby control a rate                                  message from the e stream          message from the upstream
at which the upstream device                                      device to an upstream network      device to an upstream network
receives packets from the                                         device to thereby control a rate   device to thereby control a rate
upstream network device”                                          at which the upstream device       at which the upstream device
                                                                  receives packets from the          receives packets from the
                                                                  upstream network device            upstream network device
(’973 Patent, Claim 9)
                                                                                                     Structure: a processor
                                                                  Structure: Indefinite for
                                                                  failure to disclose sufficient     Algorithm: N/A because
                                                                  corresponding structure            pursuant to “sending” is a
                                                                                                     function a general-purpose
                                                                                                     processor can do without
                                                                                                     requiring special
                                                                                                     programming.
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            Term                       Plaintiff’s Proposed       Defendant’s Proposed            Court’s Final Construction
                                          Construction                  Construction
“a module for, if the depth of    Plain and ordinary meaning   Subject to 35 U.S.C. § 112, ¶ 6   Subject to 35 U.S.C. § 112, ¶ 6
the queue passes a
predetermined threshold,                                       Function: sending a message       Function: if the depth of the
sending a message to the                                       to the upstream device to         queue passes a predetermined
upstream device to reduce a                                    reduce a rate at which packets    threshold, sending a message
rate at which packets are sent                                 are sent to the queuing device    to the upstream device to
to the queuing device to                                       to prevent the queue from         reduce a rate at which packets
prevent the queue from filling,                                filling, thereby preventing       are sent to the queuing device
thereby preventing packet                                      packet discarding and loss by     to prevent the queue from
discarding and loss by the                                     the queuing device                filling
queuing device”
                                                                                                 Structure: a processor
                                                               Structure: Indefinite for
(’973 Patent, Claim 9)                                         failure to disclose sufficient    Algorithm: None, and thus
                                                               corresponding structure           indefinite.
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            Term                      Plaintiff’s Proposed       Defendant’s Proposed             Court’s Final Construction
                                         Construction                  Construction
“a module for sending a          Plain and ordinary meaning   Subject to 35 U.S.C. § 112, ¶ 6    Subject to 35 U.S.C. § 112, ¶ 6
message reporting the depth of
the queue to the upstream                                     Function: sending a message        Function: sending a message
device to thereby enable the                                  reporting the depth of the         reporting the depth of the
upstream device to determine                                  queue to the upstream device       queue to the upstream device
whether to reduce or increase                                 to thereby enable the upstream
the rate at which the upstream                                device to determine whether to     Structure: a processor
device sends packets to the                                   reduce or increase the rate at
queuing device”                                               which the upstream device          Algorithm: N/A because
                                                              sends packets to the queuing       pursuant to “sending” is a
                                                              device                             function a general-purpose
(’973 Patent, Claim 9)                                                                           processor can do without
                                                                                                 requiring special
                                                              Structure: Indefinite for          programming.
                                                              failure to disclose sufficient
                                                              corresponding structure

“output indicator”               Plain and ordinary meaning   “indicator indicating an optical   Plain-and-ordinary meaning.
                                                              output being transmitted”
(’466 Patent, Claims 1, 15)


[Proposed by Defendant]
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            Term                      Plaintiff’s Proposed        Defendant’s Proposed           Court’s Final Construction
                                         Construction                   Construction
“output [indicator] threshold”   Plain and ordinary meaning   “time length or a percentage of   Plain-and-ordinary meaning.
                                                              a total time window duration”
(’466 Patent, Claims 1, 15)


[Proposed by Defendant]

“[A method of /Apparatus for] Plain and ordinary meaning      “[A method of/Apparatus for]      Preambles are not limiting
regulating rogue behavior in an                               regulating rogue behavior by a    except for:
[optical network component                                    subscriber-based [optical          Claim 1: “optical
comprising an optical                                         network component                    transmitter”
                                                                                                 Claim 15: “optical
transmitter/optical                                           comprising an optical
                                                                                                   transmission device”
transmission device]”                                         transmitter/optical
                                                              transmission device]”             Plain-and-ordinary meaning.

(’446 Patent, Claims 1, 15)


[Proposed by Defendant]
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                                                     -537 and -539 Cases

             Term                     Plaintiff’s Proposed        Defendant’s Proposed          Court’s Final Construction
                                         Construction                 Construction
“capacity”                       Plain and ordinary meaning    Load                            Plain-and-ordinary meaning.

(’512 Patent, Claims 1-18, 21-
24, 27)

[Proposed by Defendant]

“selecting a first candidate     Plain and ordinary meaning    “selecting a single candidate   Plain-and-ordinary meaning
base station using said                                        base station using said         wherein the plain-and-ordinary
evaluation of said signal                                      evaluation of said signal       meaning of “a first candidate
quality from said first                                        quality from said first         base station” is only one
measurement report”                                            measurement report”             candidate base station.

(’224 Patent, Claim 1)

[Proposed by Defendant]
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           Term                     Plaintiff’s Proposed            Defendant’s Proposed           Court’s Final Construction
                                       Construction                       Construction
“executable program means for Plain and ordinary meaning         Subject to 35 U.S.C. § 112, ¶    Indefinite pursuant to IPXL
causing a base station to     and does not invoke 35 U.S.C.      6.                               Holdings, L.L.C. v.
perform the method when the   § 112, ¶ 6.                                                         Amazon.com, Inc., 430 F.3d
program is run on the base                                                                        1377 (Fed. Cir. 2005).
station”                      If the court finds the term
                              invokes § 112, ¶ 6, however,
(’224 Patent, Claim 15)       then:

[Proposed by Defendant]         Function: causing a base         Function: causing a base
                                station to perform the method    station to perform the method
                                of claim 1.                      when the program is run on the
                                                                 base station.


                                Structure: executable program    Structure: The flow chart of
                                code configured when             Figure 1, and its
                                executed to cause the base       accompanying written
                                station to perform the method    description, and equivalents
                                of claim 1; the example          thereof.
                                flowchart shown in Fig. 1 and
                                its accompanying written
                                description; example signaling
                                described with reference to
                                Figs. 2−4; the example
                                selecting process described
                                with reference to Fig. 5; the
                                base station described with
                                reference to Fig. 6; and
                                equivalents of any of the
                                foregoing
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                                                     -541 and -544 Cases

            Term                      Plaintiff’s Proposed         Defendant’s Proposed           Court’s Final Construction
                                         Construction                   Construction
“associated with a quality of    Plain and ordinary meaning    “associated with a quality of     Plain-and-ordinary meaning
the received CQI” /                                            received CQI channel”
“associated with a quality of
the received channel quality
indicator (CQI)”

(’199 Patent, Claims 1, 9, 15)


[Proposed by Defendant]

“dynamically adjust a CQI      Plain and ordinary meaning      “a closed-loop process which      Plain-and-ordinary meaning
channel configuration based on                                 dynamically adjusts a CQI
the comparison”                                                channel configuration based
                                                               upon the comparison of the
                                                               short term or long term quality
(’199 Patent, Claims 1, 9)                                     metrics”


[Proposed by Defendant]
                          Case 6:20-cv-00541-ADA Document 67 Filed 06/01/21 Page 22 of 24




            Term                        Plaintiff’s Proposed        Defendant’s Proposed           Court’s Final Construction
                                           Construction                  Construction
“generated by filtering frame      Plain and ordinary meaning   “created by processing frame      Plain-and-ordinary meaning
based quality metrics over a                                    based quality metrics over a
plurality of frames” (’199                                      plurality of frames in order to
Patent, Claim 1) / “generated                                   reject those long-term soft
by filtering frame based                                        decision quality metrics that
quality metrics over a period of                                are unwanted”
more than one frame” (’199
Patent, Claim 9)

[Proposed by Defendant]
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“means for generating soft        Subject to 35 U.S.C. § 112, ¶       Subject to 35 U.S.C. § 112, ¶     Subject to 35 U.S.C. § 112, ¶
decision quality metrics from a   6.                                  6.                                6.
decoding process for a
received channel quality                                                                                Function: “generating soft
indicator (CQI)”                  Function: “generating soft          Function: “generating soft        decision quality metrics from a
                                  decision quality metrics from       decision quality metrics from a   decoding process for a
                                  a decoding process for a            decoding process for a            received channel quality
(’199 Patent, Claim 9)            received channel quality            received channel quality          indicator (CQI)”
                                  indicator (CQI)”                    indicator (CQI)”
                                                                                                        Structure: CQI
[Proposed by Both]                                                                                      recovery/decoding unit or CQI
                                  Structure: CQI                      Structure: a base station that    recovery/decoding unit and
                                  recovery/decoding unit; CQI         includes a CQI                    CQI metric generation unit;
                                  metric generation unit; and         recovery/decoding unit, CQI       and equivalents thereof
                                  equivalents thereof1                metric generation unit using
                                  1                                   the algorithm(s) of 13:58
                                    - The structure identified here
                                  is intended to encompass
                                  relevant descriptions appearing
                                  throughout the specification.
                                  In disclosures served on
                                  opposing counsel prior to the
                                  instant brief, WSOU had
                                  identified the following
                                  exemplary disclosure of the
                                  ’199 patent as relevant to the
                                  understanding of the
                                  corresponding structure for
                                  this term: Fig. 1 (rake receiver
                                  28, CQI recovery/decoding
                                  unit 30, and a CQI metric
                                  generation unit 32); Fig. 8;
                                  4:57−5:13; 5:17−21; 6:13−49;
                                  10:17−11:45; 12:4−53;
                           Case 6:20-cv-00541-ADA Document 67 Filed 06/01/21 Page 24 of 24




             Term                       Plaintiff’s Proposed        Defendant’s Proposed       Court’s Final Construction
                                           Construction                 Construction
                                   13:58−15:38; 16:42−46;
                                   16:47−49, etc.

“hybrid automatic repeat           Plain and ordinary meaning   “process implementing a       Plain-and-ordinary meaning
request process”                                                stop and wait protocol and
                                                                soft combining where in the
                                                                uplink a UE adjusts the
(’199 Patent, Claims 1, 2, 5, 6,
                                                                PUSCH transmission
7, 9, 11-19)
                                                                according to PDCCH and/or
                                                                PHICH information as
[Proposed by Defendant]                                         detected by the UE”

“the resources are persistently    Plain and ordinary meaning   Indefinite                    Indefinite.
allocated for transmitting the
new uplink packet
transmission”

(’199 Patent, Claim 2)


[Proposed by Defendant]
